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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 COMMITTEE ON THE JUDICIARY,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                              Plaintiff,
                                                           No. 19-cv-2379 (KBJ)
 v.

 DONALD F. MCGAHN II,

                              Defendant.



         MOTION TO WITHDRAW APPEARANCE OF JOSHUA A. GELTZER

       I, Joshua A. Geltzer, hereby move to withdraw my appearance on behalf of Plaintiff in

the above-captioned case. Plaintiff will continue to be represented by the other attorneys who

have entered appearances in this case.


                                             Respectfully submitted,

                                             /s/ Joshua A. Geltzer
                                             Joshua A. Geltzer (D.C. Bar No. 1018768)
                                             INSTITUTE FOR CONSTITUTIONAL
                                             ADVOCACY AND PROTECTION
                                             Georgetown University Law Center
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January 19, 2021
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2021, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.

                                                       /s/ Joshua A. Geltzer
                                                       Joshua A. Geltzer




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